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                         IN THE UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                           :

                        v.                          :             CRIMINAL NO. 16-130-01

 CHARLES M. HALLINAN                                :

               GOVERNMENT=S OBJECTIONS TO ANTICIPATED OPINION
               TESTIMONY OF DEFENSE WITNESS GREGORY COWHEY

                The United States of America, through its attorneys, Louis D. Lappen, United

States Attorney, and Maria M. Carrillo, Mark B. Dubnoff and James A. Petkun, Assistant United

States Attorneys, objects to the anticipated opinion testimony of defense witness Gregory

Cowhey on the grounds that it is irrelevant and includes inadmissible opinions on the law.

Additionally, as argued elsewhere, to the extent Cowhey would rely on financial information

provided by defendant Charles M. Hallinan, such testimony should be precluded because of

Hallinan’s refusal to provide this Court with his complete financial information.

        A.      Cowhey’s Opinions Are Not Relevant

                In his Order of Proof, Hallinan identified Cowhey as one of five witnesses he

intended to call at the upcoming hearing on the government’s forfeiture motion. Docket

Document Entry (“DDE”) 383 at 1. 1 Hallinan stated that Cowhey’s anticipated testimony was

summarized in an attached report and that Cowhey might also testify as outlined in previously-

filed expert disclosures. Id. Hallinan also stated that Cowhey would be presented as both a fact

and expert witness. Id. at 3. Cowhey’s proffered opinions, however, are largely irrelevant to any

issue in dispute. As the Court knows from prior briefing – See e.g., DDE 326, 328, 342, 356 –



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        The others are Brent Kopenhaver, Hallinan’s former CFO; Rod Ermel, Hallinan’s tax preparer; George
McGary, Hallinan’s Probation Officer; and Rhea Greenspan, Halilnan’s wife. DDE 383 at 1.
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the government’s motion for an approximately $493 million money judgment is based on 18

U.S.C. § 1963(a)(3), which states that a convicted RICO defendant “shall forfeit” all proceeds

obtained from “unlawful debt collection.” RICO defines “unlawful debt” to include debt that is

“unenforceable” because of state usury laws. 18 U.S.C. § 1961(6). Thus, the only question

relevant to the government’s motion is: How much money did the Hallinan Payday Lending

Organization (“HPLO”) collect in debt that was unenforceable because of state usury laws?

                  Cowhey’s anticipated testimony would shed no light on that issue. Nor could it.

Cowhey is an accountant, not a lawyer, and he is not competent to testify about the enforceability

of contracts or state usury laws. Cowhey’s report indicates that he would testify instead about

the HPLO’s profits from its collection of unlawful debt. See, e.g., Report at 1 (opining that

Exhibit 500E “fails to provide a complete and accurate understanding of the financial results of

operations” for various HPLO entities). The HPLO’s profits, however, are irrelevant. Either a

debt is enforceable, or it is not. If the debt is unenforceable because of usury laws, there is a

RICO violation, and the lender must forfeit whatever debt he collected, not just the profitable

portion of that unlawful debt.

         B.       Cowhey Cannot Opine on the Statutory Definition of “Proceeds”

                  Additionally, to the extent Cowhey would render opinions as to what constitutes

the “proceeds” of Hallinan’s crimes, 2 such opinions would constitute improper testimony about



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          Cowhey’s report is filled with these inadmissible opinions. See, e.g., Report at 4 (stating that the
“proceeds” of operations for the HPLO was approximately $66 million, not $490 million); id. (stating that the
government’s suggestion that the proceeds exceeded $495 million greatly mischaracterizes the nature of the
operations and presents an incorrect depiction of the facts”); id. at 5 (“considering the totality of the circumstances,
the proceeds of the [HPLO] is [sic] best stated at approximately $68,600,000 and NOT approximately
$490,000,000); id. (“we conclude to a reasonable degree of accounting, finance and economic certainty, that
$490,000,000 does not represent the proceeds of the [HPLO] and that the Government’s position on this issue is not
grounded in economic reality.”).

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the governing law. See Berckeley Inv. Group, Ltd. v. Colkitt, 455 F.3d 195, 217 (3d Cir. 2006)

(citing United States v. Leo, 941 F.3d 181, 195-96 (3d Cir. 1991). As this Court noted in its

March 29, 2018 memorandum concerning Hallinan’s co-defendant Wheeler K. Neff, the

question of what constitutes “proceeds” under 18 U.S.C. § 1963(a)(3) is a matter of statutory

interpretation that the Third Circuit has yet to address. DDE 386 at p.10, ¶ 7. Thus, although

Hallinan’s lawyers may make arguments about the definition of “proceeds,” they may not

present “expert” opinion testimony on this question of statutory interpretation. Similarly

inadmissible would be Cowhey opinion that “the documents upon which the Government is

relying in this matter do NOT support the Government’s forfeiture request of $490 million.”

Report at p.9. Hallinan’s attorneys can make (and have made) that argument directly, but they

cannot do so through an accountant.

       C.      Hallinan Cannot Present Only a Partial Picture of his Finances

               Per the Court’s Order of March 20, 2018, Hallinan had until 5 p.m. on April 4,

2018 to provide the Probation Department with completed financial forms, except to the extent

that he asserts a privilege under the Fifth Amendment or some other privilege. DDE 379. The

government has been informed by Hallinan’s probation officer that Hallinan provided some new

information about his finances by that deadline, while asserting a Fifth Amendment privilege in

other financial information. The government will address this matter at the hearing currently

scheduled for 9 a.m. on April 6, 2018, but if Hallinan is still refusing to provide this Court with

complete information about his finances, he cannot present a partial picture of those finances

through any witness, expert or otherwise. See United States v. Rylander, 460 U.S. 752, 758

(1983) (the Fifth Amendment cannot be converted from a “shield” against compelled self-

incrimination into a “sword” that frees him from a burden of production).
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       D.      Cowhey’s Prior Reports

               To the extent Cowhey would testify “as outlined in disclosures previously filed on

October 17, 2016 and September 18, 2017,” Report at 3, the government reiterates its prior

objections to those prior expert disclosures.

       E.      Conclusion

               For all the foregoing reasons, the government would object to any effort by the

defense to elicit opinion testimony from Cowhey.




                                                           Respectfully submitted,

                                                           LOUIS D. LAPPEN
                                                           United States Attorney


                                                           /s/ Mark B. Dubnoff
                                                           MARK B. DUBNOFF
                                                           JAMES A. PETKUN
                                                           MARIA M. CARRILLO
                                                           Assistant United States Attorneys




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                                CERTIFICATE OF SERVICE

               I certify that a copy of the foregoing was served by ECF, the Court’s electronic

case filing system, upon:



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Date: April 4, 2018




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